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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

   LIGHTING SCIENCE GROUP CORPORATION,

                          Plaintiff,
                   v.
                                                               Case No. 6:16-cv-413-Orl-RBD-
   NICOR, INC.,                                                GJK
                          Defendant.


   LIGHTING SCIENCE GROUP CORPORATION,

                          Plaintiff,
                   v.                                          Case No. 6:16-cv-1255-Orl-RBD-
                                                               GJK
   TECHNICAL CONSUMER PRODUCTS, INC.,

                          Defendant.


   LIGHTING SCIENCE GROUP CORPORATION,

                          Plaintiff,
                                                               Case No. 6:16-cv-1321-Orl-RBD-
                   v.                                          GJK

   AMAX LIGHTING,
                          Defendant.


                                          STATUS REPORT

       Plaintiff and Defendants in the above-captioned cases provide notice, pursuant to this Court’s

Order staying this litigation (Dkt. Nos. 98, 62, and 55, respectively, as listed in the above caption),

of the status of Defendants’ petitions for inter partes review of the patents-in-suit filed on April 17,

2017 and any settlement discussions.

       This Status Report is to replace the December 17, 2018 Status Report (Dkt. Nos. 115, 78, and

72, respectively, as listed in the above caption), which was filed in error.
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        Final written decisions for the Defendants’ petitions in the U.S. Patent Trial and Appeal

Board were entered on October 31, 2018, as previously noted to the Court (see Dkt. Nos. 112, 77,

and 71, respectively, as listed in the above caption). On January 2, 2019, the Defendants filed Notices

of Appeal with the Court of Appeals for the Federal Circuit regarding the remaining asserted claims of

the ‘844 and ‘968 patents (the asserted claims of the ‘518 patent were all invalidated, and no appeal was

filed as to them).

        Certain parties have engaged in settlement discussions since the filing of Defendants’

petitions and do not, at this time, request assistance from the Court to facilitate any such discussions.

Dated: January 29, 2019

     Counsel for Plaintiff                               Counsel for Defendant Nicor, Inc.
     Lighting Science Group Corporation

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this January 29, 2019, I filed a copy of the foregoing
 document with the Clerk of the Court for the United States District Court for the Middle District
 of Florida, Orlando Division using the CM/ECF system which will electronically notify all counsel
 or parties of record.

                                             /s/ Mark F. Warzecha
                                             Mark F. Warzecha, Esq.
